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Filed 06/12/23 Page 1 of 2

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

CONSUMER FINANCIAL PROTECTION
BUREAU,

Petitioner,
V.
CHECK CITY PARTNERSHIP, LLC,

Respondent.

 

 

 

2:23-ms-00035

CONSUMER FINANCIAL
PROTECTION BUREAU’S
INDEX OF EXHIBITS

Pursuant to Local Rule IA 10-3(d), the Consumer Financial Protection Bureau

submits this Index of Exhibits in support of its Petition to Enforce Civil Investigative

Demand in the above-captioned case.

Ex. A Civil Investigative Demand to Check City Partnership, LLC
(December 16, 2022) and e-mail from Sarah Reise to Benjamin Clark

(December 16, 2022)

Ex. B Letter from Sarah Reise and Jason Cover to E. Vanessa Assae-Bille
(January 18, 2023) and e-mail from Sarah Reise to E. Vanessa Assae-

Bille (January 24, 2023)

Ex, © Letter from Deborah Morris to Sarah Reise and Jason Cover (February

2, 2023)

 

 

 
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Ex. D E-mail exchange between Sarah Reise and E. Vanessa Assae-Bille
(February 24, 2023 to March 3, 2023)
2 Ex. E Letter from Deborah Morris to Sarah Reise and Jason Cover (March 6,
2023)
3
Ex. F Letter from Sarah Reise and Jason Cover to E. Vanessa Assae-Bille
4 (March 10, 2023)
5 Ex. G Letter from Deborah Morris to Sarah Reise and Jason Cover (March
15, 2023)
6
Ex. H Letters from Sarah Reise to E. Vanessa Assae-Bille (January 26, 2023;
7 February 2, 2023; February 13,2023; February 21, 2023; and March
8 27, 2023)
Ex. | E-mail exchange between Sarah Reise and Benjamin Clark (May 9,
9 2023 to May 12, 2023)
10 Ex. J E-mail exchange between Sarah Reise and E. Vanessa Assae-Bille
MW (March 31, 2023 to April 3, 2023)
12 .
Dated: June 12, 2023 Respectfully submitted,
13
ERIC HALPERIN
14 Enforcement Director
15 DEBORAH MORRIS
16 Deputy Enforcement Director
EMILY SACHS
17 Assistant Litigation Deputy
18 /s/ E. Vanessa Assae-Bille
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